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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

RICK HARRISON, JOHN BUCKLEY III,
MARGARET LOPEZ, ANDY LOPEZ, KEITH
LORENSEN, LISA LORENSEN, EDWARDS
LOVE, ROBERT MCTUREOUS, DAVID
MORALES, GINA MORRIS, MARTIN SONGER,
JR., SHELLY SONGER, JEREMY STEWARD,
KESHA STIDHAM, AARON TONEY, ERIC
WILLIAMS, CARL WINGATE, AND TRACY
SMITH, as Personal Representative of the Estate of
Rubin Smith,

Plaintiffs,
VS.

THE REPUBLIC OF SUDAN,

Case No. 1:13-cv-03127 (AT)

AMENDED TURNOVER ORDER
AGAINST BNP PARIBAS

USDC SDNY

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REDACTED PURSUANT TO
PROTECTIVE ORDER

 

 

 

 

Defendant,
vs.
BNP PARIBAS,
Respondent.
AND NOW, this 13th day of December , 2013, upon Plaintiffs’ Petition

for Turnover Order Against BNP Paribas pursuant to 28 U.S.C. § 1610(g), CPLR § 5225(b)

and Federal Rule of Civil Procedure 69(a), and Plaintiffs’ Unopposed Motion for Order

Amending Turnover Order Against BNP Paribas, the Motion is GRANTED. The Court hereby

finds and orders as follows:

{10300/00330493.1}

 

 
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1. Plaintiffs obtained a judgment in the District Court for the District of Columbia

in the amount of $314,705,896, plus interest (the “Judgment”), and the entire principal amount

of the Judgment remains unsatisfied.

2. Funds held at BNP Paribas New York Branch are subject to execution and

attachment under the Foreign Sovereign Immunities Act because the owners of the funds are

agencies and instrumentalities of the Republic of Sudan.

3. A, 210 known 2s a, is an

agency and instrumentality of the Sudanese government. The following accounts, totaling

Bo. plus accrued interest, are subject to execution to satisfy the Plaintiffs’

 

 

outstanding judgment:
Respondent Bank Account
Beneficiary

 

BNP Paribas

Blocking Date

 

 

BNP Paribas

 

BNP Paribas

 

 

BNP Paribas

 

 

BNP Paribas

 

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(as of June 30, 2012)

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4 I, Sudan is an agency and

instrumentality of the Sudanese government. The following accounts, totaling Po.

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plus accrued interest, are subject to execution to satisfy the Plaintiffs’ outstanding

judgment:

 

Respondent Bank

Account
Beneficiary

 

BNP Paribas

 

BNP Paribas

Blocking Date

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Value
(as of June 30, 2012)

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BNP Paribas

 

BNP Paribas

 

 

 

 

    

is an agency and instrumentality of the Sudanese

 

government. The following accounts, totaling Lo. plus accrued interest, are

subject to execution to satisfy the Plaintiffs’ outstanding judgment:

 

Respondent Bank

Account Beneficiary

Blocking Date

 

 
 

BNP Paribas

BNP Paribas

 

 

 

 

 

Value
(as of June 30, 2012)

  
 
 
 

 

 

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, is an agency and instrumentality of Sudan. The following

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account, totaling [7 3aaaaq, plus accrued interest, is subject to execution to satisfy the

Plaintiffs’ outstanding judgment:

 

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(as of June 30, 2012)

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Respondent Bank Account Beneficiary |Blocking Date

 

 

 

 

 

 

 

 

 

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account, totaling a. plus accrued interest, is subject to execution to satisfy the

Plaintiffs’ outstanding judgment:

 

Value
(as of June 30, 2012)

BNP Paribas |! 7h

 

Respondent Bank Account Beneficiary |Blocking Date

 

 

 

 

 

 

 

 

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instrumentality of Sudan. The following accounts, totaling 7. plus accrued

interest, are subject to execution to satisfy the Plaintiffs’ outstanding judgment:

 

Value

Respondent Bank Account Beneficiary | Blocking Date (as of June 30, 2012)

 

BNP Paribas yo Lo

 

 

BNP Paribas

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BNP Paribas os ye aaa, °° °»« |

 

 

 

 

 

9, The Court hereby directs BNP Paribas to turn over the proceeds of the
foregoing accounts, totaling Jagat (the “Turnover Assets”), together with any
accrued interest, to the Plaintiffs within ten (10) days from the date of this Order.

10. An OFAC license is not necessary to disburse these funds and no notice is
necessary to the Sudanese agencies and instrumentalities. See Heiser v. Bank of Tokyo
Mitsubishi UFJ, New York Branch, 919 F. Supp, 2d 411, 422 (S.D.N.Y. 2013); Heiser v.
Islamic Republic of Iran, 807 F. Supp. 2d 9, 23 (D.D.C. 2011); Weininger v. Castro, 432 F.
Supp. 2d 457 (S.D.N.Y. 2006).

11, Upon turnover by BNP Paribas of the Turnover Assets to the Plaintiffs, plus
all accrued interest thereon to date, BNP Paribas shall be fully discharged pursuant to
CPLR §§ 5209 or 6204 and Rule 22 of the Federal Rules of Civil Procedure, as applicable,
and released from any and all liability and obligations or other liabilities, including all
writs of execution, notices of pending action, restraining notices and other judgment
creditor process of any kind, whether served on, or delivered to BNP Paribas, to the extent
that they apply, purport to apply or attach to the Turnover Assets, to defendant Sudan, and
to any agency and instrumentality of Sudan, or to any other party otherwise entitled to
claim the Turnover Assets (in whole or in part), including without limitation, the plaintiffs
in Owens, et al. v. Republic of Sudan, et al., 1:01-cv-02244-JDB (D.D.C.), and any other

persons or entities, to the full extent of such amounts so held and deposited in compliance
{10300/00330493.1}

 

 
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with this partial judgment. BNP Paribas shall provide a copy of this order to counsel for
Owens within 5 days of the date of this order.

12. Upon payment and turnover by BNP Paribas of the Turnover Assets to the
Plaintiffs, plus all accrued interest thereon to date, all other persons and entities shall be
permanently restrained and enjoined from instituting or prosecuting any claim, or pursuing
any action against BNP Paribas in any jurisdiction or tribunal arising from or relating to
any claim (whether legal or equitable) to the funds turned over in compliance with
paragraph 9 of this Order.

13. This Order enforces a duly registered District Court judgment from the District of
Columbia, recognized by a New York Federal Court and given full faith and credit by this
Court.

14, This Order supersedes any prior order relating to the Turnover Assets

described in this Order.

So ordered,

 

ANALISA TORRES
Date: December 13, 2013 United States District Judge

{10300/00330493.1}

 

 
